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                                                            U.S. v. [6] Luis Gareia-Lopez, 19-121 (SCC)




                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

  UNITED STATES OF AMERICA,                         CRIMINAL NO. 19-121 (SCC)
  Plaintiff,
                                                                                 A3 6 ;• .
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                         V.                                           ^ ^:Ki^..
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  [6] LUIS GARCIA-LOPEZ, A/K/A "LOS                               >                                  N
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  GEMELOS,"                                                           USD/R^ /?fr<'y
  Defendant.                                                       ^ s^^cr^
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                    PLEA AND FORFEITURE AGREEMENT

TO THE HONORABLE COURT:

      The United States of America, Defendant, [6] LUIS GARCIA-LOPEZ,

A/K/A "LOS GEMELOS" and Defendant's counsel, Howard Leader, Esq.,


pursuant to Federal Rule of Criminal Procedure 11, state that they have reached a Plea


Agreement, the terms and conditions of which are as follows:


   1. Charges to which Defendant will Plead Guilty

      Defendant agrees to plead guilty to Counts One and Six of the Indictment:

       Count One: of the Indictment charges that from in or about the year 2006, and


continuing up to and until the return of the instant Indictment, in the Municipality of


San Juan, District of Puerto Rico and within the jurisdiction of this Court, [6] LUIS

GARCIA-LOPEZ, A/K/A "LOS GEMELOS" and other persons, did knowmgly

and intentionally, combme, conspire, and agree with each other and with diverse other


persons known and unknown to the Grand Jury, to commit an offense against the
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United States, that is, to knowingly and intentionally possess with intent to distribute


and/or to distribute controlled substances, to wit: in excess of two hundred and eighty


(280) grams of a mixture or substance containing a detectable amount of cocaine base


(crack), a Schedule II Narcotic Drug Controlled Substance; in excess of one (1)

kilogram of a mixture or substance containing a detectable amount of herom, a

Schedule I, Narcotic Drug Controlled Substance; in excess of five (5) kilograms of a


mixture or substance containing a detectable amount of cocaine, a Schedule II,


Narcotic Drug Controlled Substance; in excess of one hundred (100) kUograms of a

mixture or substance containing a detectable amount of marijuana, a Schedule I,


ControUed Substance; a mucture or substance contaming a detectable amount of


Oxycodone (commonly known as Percocet), a Schedule II Controlled Substance; and


a mbcture or substance contaming a detectable amount of Alprazolam (commonly


known as Xanax), a Schedule IV ControUed Substance; within one thousand (1,000)


feet of a real property comprismg the Villa Kennedy Public Housing Project, Las Casas

Public Housing Project, El Mirador Public Housing Project, Las Margaritas Public

Housing Project, housing facilities owned by a public housing authority and withm

one thousand (1,000) feet of a real property comprising a public or private school

and/or playground. All in violation of Title 21, United States Code Sections 841(a)(l),

846 and 860.

      Count Six: of the Indictment charges that from in or about the year 2006, and


continuing up to and until the return of the instant Indictment, in the Municipality of
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San Juan, District of Puerto Rico and within the jurisdiction of this Court, [6] LUIS

GARCIA-LOPEZ, A/K/A "LOS GEMELOS" together with others charged in

Count Six, did knowingly and unlawfully possess faearms, of unknown make and


caliber, as that term is defmed in Title 18, United States Code, Section 921(a)(3), in

furtherance of a drug trafficking crime for which they may be prosecuted in a Court of


the United States, as charged in Counts One (1) through Five (5) of the instant

Indictment. All in violation of Title 18, United States Code, § 924(c)(l)(A).

   2. Maximum Penalties


       Count One: The penalty for the offense charged in Count One of the Indictment is


a term of imprisonment which shall not be less than ten (10) years and up to two (2) terms

of life, a fine not to exceed twenty million dollars ($20,000,000.00) and a term of


supervised release of not less than ten (10) years in addition to any term of incarceration,


pursuant to Title 21, United States Code, §§ 841(b)(l)(A), 846, and 860.

       However, based on the stipulated and agreed amount of narcotics possessed by


the defendant, that is, at least 2 kilograms but less than 3.5 kilograms of cocaine, the


defendant faces a minimum term of imprisonment of five (5) years up to a maximum


term of eighty (80) years, a fme not to exceed ten million dollars ($10,000,000.00), and

a term of supervised release of at least eight (8) years in addition to any term of


incarceration, pursuant to Title 21, United States Code, 841(b)(l)(C), 846, and 860.

       Count Sue: The statutory penalty for the offense charged in Count Six of the


Indictment, is a term of imprisonment of not less than '5 years nor more than life in
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prison pursuant to 18 U.S.C. § 924(c); a fine not to exceed $250,000; and a supervised


release term of not more than five years, pursuant to 18 U.S.C. § 3583(b)(l).


   3. Sentencing Guidelines Applicability

      Defendant understands that the sentence witl be imposed by the Court in


accordance with 18 U.S.C. § § 3551-86, and the United States Sentencing Guidelines


(hereinafter "Guidelines"), which are advisory pursuant to the United States Supreme


Court decision m United States v. Booker, 543 U.S. 220 (2005). Further, Defendant


acknowledges that parole has been abolished, and that the imposition of Defendant's


sentence may not be suspended.


   4. Special Mxmetary Assessment


      Defendant agrees to pay a special monetary assessment ("SMA") of one


hundred dollars ($100.00) per count of conviction. The SMA will be deposited in the

Crime Victim Fund, pursuant to 18 U.S.C. § 3013 (a)(2)(A).

   5. Fines and Restitution


      The Court may, pursuant to Section 5E 1.2 of the Guidelines order Defendant


to pay a fine. The Court may also impose restitution. Defendant agrees to execute


and make available, prior to sentencmg, a standardized fmancial statement (OBD


Form 500). The United States will advocate on behalf of any identified victim and

comply with its obligations under the Mandatory Victim Restitution Act of 1996.

   6. Sentence to be Determined by the Court



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       Defendant understands that the sentence to be imposed will be determined


solely by the United States District Judge. The United States cannot make and has not

made any promise or representation as to what sentence Defendant will receive. Any

discussions that the parties might have had about possible sentences are not binding in


any way on the Court, and do not constitute representations about what the parties


wUl seek, or what the actual sentence win be.


   7. Recommended Sentencing Guidelines Calculations


       After due consideration of the relevant factors enumerated in 18 U.S.C. §


3553(a), the United States and Defendant submit that the advisory Guidelines

calculations listed below apply to Defendant. However, Defendant acknowledges that


the Court is not required to accept those recommended Guidelines calculations.


                 SENTENCING GUIDELINES CALCULATIONS
                             COUNT ONE
                          21U.S.C. §§ 841(a)(l), 846 and 860
 Base Offense Level pursuant to U.S.S.G. § 2Dl.l(c)(7)
                                                                                     26
 Protected Location U.S.S.G. § 2D1.2(a)(l)
                                                                                    +2
 Leadership U.S.S.G. § 3Bl.l(b)
                                                                                    +3
 Acceptance of Responsibility pursuant to U.S.S.G. §3E1.1
                                                                                     -3

 TOTAL ADJUSTED OFFENSE LEVEL
                                                                                    28
 CH Cat. I     CH Cat. II   CH Cat. Ill    CH Cat. IV      CH Cat. V             CH Cat. VI

    78-97        87-108        97-121           110-137      130-162                 140-175


       As to Count Sue, the United States and Defendant submit that pursuant to


United States Sentencing Guidelines § 2K2.4(b), a defendant that is convicted of

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violating 18 U.S.C. § 924 (c)(l)(A), has a guideline sentence equal to the minimum

term of imprisonment required by statute. In the present case, pursuant to 18 U.S.C.


§ 924(c)(l)(A)(i), there is a minimum term of imprisonment ofsbcty (60) months.

   8. Sentence Recommendation


      As to Count One, and after due consideration of the relevant factors enumerated


in 18 U.S.C. § 3553(a), the parties agree to jointly recommend 84 months of


imprisonment. As to Count Six, the parties agree to jointly recommend 60 months


and that the two sentences run consecutively to one another. In other words, the

parties witl jointly recommend 144 months of incarceration for this case regardless of


Defendant's crimmal history category. The parties agree that any recommendation

by either party for a term of imprisonment below or above the stipulated sentence


recommendation will constitute a material breach of the Plea Agreement.


   9. No Stipulation as to Criminal History Category


      The parties do not stipulate as to any Criminal History Category for Defendant.


   10.Waiver of Appeal


      Defendant knowingly and voluntarily agrees that, if the imprisonment sentence


imposed by the Court is 144 months or less, Defendant waives the right to appeal any


aspect of this case's judgment and sentence, including, but not limited to the term of


imprisonment or probation, restitution, fines, forfeiture, and the term and conditions


ofsupemsed release.




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   11. No Further Adjustments or Departures


      The United States and Defendant agree that no further adjustments or


departures to Defendant's total adjusted base ofFense level and no variant sentence


under 18 U.S.C. § 3553—other than any explicitly provided for in this Plea


Agreement—shall be sought by Defendant. The parties agree that any request by


Defendant for an adjustment or departure that is not explicitly provided for in this Plea

Agreement will be considered a material breach of this Plea Agreement, and the


United States will be free to ask for any sentence, either guideline or statutory.


   12. Satisfaction with Counsel


      Defendant is satisfied with counsel, Howard Leader, Esq., and asserts that


counsel has rendered effective legal assistance.


   13. Rights Surrendered by Defendant Through Guilty Plea

      Defendant understands that by entering into this Plea Agreement, Defendant


surrenders and waives certain rights as detailed in this agreement. Defendant


understands that the rights of criminal defendants include the following:

          a. If Defendant had persisted in a plea of not guilty to the charges,
             Defendant would have had the right to a speedy jury trial with the
             assistance of counsel. The trial may be conducted by a judge sitting
             without a jury if Defendant, the United States and the judge agree.


          b. If a jury trial is conducted, the jury would be composed of twelve lay
              persons selected at random. Defendant and Defendant's attorney would
             assist in selecting the jurors by removing prospective jurors for cause
             where actual bias or other disqualification is shown, or by removing
             prospective jurors without cause by exercising peremptory challenges.
             The jury would have to agree, unanimously, before it could return a
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             verdict of either guilty or not guilty. The jury would be instructed that
             Defendant is presumed innocent, that it could not convict Defendant
             unless, after hearing all the evidence, it was persuaded of Defendant's
             guUt beyond a reasonable doubt, and that it was to consider each charge
             separately.


          c. If a trial is held by the judge without a jury, the judge would fmd the facts
             and, after hearing all the evidence and considering each count separately,
             determme whether or not the evidence established Defendant's guilt
             beyond a reasonable doubt.


          d. At a trial, the United States would be required to present its witnesses
              and other evidence against Defendant. Defendant would be able to
             confront those witnesses and Defendant's attorney would be able to
             cross-examine them. In turn, Defendant could present witnesses and
             other evidence on Defendant's own behalf. If the witnesses for Defendant
             would not appear voluntarily, Defendant could require their attendance
             through the subpoena power of the Court.

          e. At a trial, Defendant could rely on the privilege against self-incrimination
              to decline to testify, and no inference of guilt could be drawn from
             Defendant's refusal to testify. If Defendant desired to do so, Defendant
             could testify on Defendant's own behalf.


   14. Stipulation of Facts

      The accompanying Stipulation of Facts signed by Defendant is hereby

incorporated into this Plea Agreement. Defendant adopts the Stipulation of Facts and


agrees that the facts therein are accurate in every respect. Defendant agrees and accepts


that had the matter proceeded to trial, the United States would have proven those facts


beyond a reasonable doubt.


   15.Limitations of Plea Agreement




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       This Plea Agreement binds only the United States Attorney's Office for the

District of Puerto Rico and Defendant. It does not bind any other federal district, state,


or local authorities.


   16. Entirety of Plea Agreement


       This written agreement constitutes the complete Plea Agreement between the


United States, Defendant, and Defendant's counsel. The United States has made no


promises or representations except as set forth in writing in this Plea Agreement and


denies the existence of any other terms and conditions not stated herein.


   17.Amendments to Plea Agreement


       No other promises, terms or conditions wiU be entered into between the parties


unless they are in writing and signed by ati parties.


   18.Dismissal of Remaining Counts


       At sentencing should there be any pending counts and should the Defendant


comply with the terms of this Plea Agreement, the United States will move to dismiss


the remainmg counts of the Indictment pending against Defendant in this case.


   19.Voluntariness of Plea Agreement


       Defendant acknowledges that no threats have been made against Defendant and


that Defendant is pleading guilty freely and voluntarily because Defendant is guilty.

   20. Package Plea Provision


       Defendant is fuUy aware that this is a package plea agreement, that is, a Plea


Agreement conditioned upon the guilty plea of co-defendants [1] EMMANUEL
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PACHECO-MARIN, [2] VLADIMIR NATERA-ABREU, [4] JESUS J. RIVERA-

FIGUEROA, [5] JOSE L. GARCIA-LOPEZ, [7] ELVIN 0. CRUZ-VERGES and,

from case 19-124, defendants [1] EDISON MERCED-OLIVERA and [2]

WALDEMAR FEBRES-SANCHEZ.

      Defendant certifies that Defendant is not entering into this guilty plea because


of threats or pressures from any co-defendant, from any defendant in case 19-124 or


from any other person or entity. Pursuant to United States v. Martinez-Molina, 64 F.3d


719 (1st Cir. 1995), package plea agreements require that the District Court be alerted

to the fact that co-defendants are entering a package deal so that the District Court can


carefully ascertain the voluntariness of each defendant's plea. The parties further agree


that should any of the co-defendants or any defendant in case 19-124 withdraw the


guilty plea, the United States reserves its right to withdraw from its obligations under

the package plea agreement in its entirety.


   21. Breach and Waiver


      Defendant agrees that defendant will have breached this Plea Agreement if,

after entering into this Plea Agreement, Defendant: (a) fails to perform or to ftilfiU

completely each and every one of Defendant's obligations under this Plea Agreement;


(b) engages in any cnminal activity prior to sentencing; or (c) attempts to withdraw

Defendant's guilty plea. In the event of such a breach, the United States will be free


from its obligation under this Plea Agreement and Defendant will not have the right

to withdraw the guilty plea. Moreover, Defendant agrees that if Defendant is in
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breach of the Plea Agreement, Defendant is deemed to have waived any objection to


the reinstatement of any charges under the Indictment, Information, or complaint


which may have previously been dismissed or which may have not been previously


prosecuted.


   22. Potential Impact on Immigration Status


      Pursuant to Federal Rule of Criminal Procedure 1 l(b)(l)(0), Defendant hereby

agrees and recognizes that if convicted, a Defendant who is not a United States citizen


may be removed from the United States, denied citizenship, and denied admission to


the United States in the future.


   23.Felony Conviction


      Defendant hereby agrees and recognizes that the plea of guilty in this case will

be recognized as a felony conviction, which will result in the loss of certain rights,


including but not limited to the right to vote in a federal election, to serve as a juror,


to hold public office, and to lawfully possess a firearm.


   24. Firearms and Ammunition Forfeiture


      Pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), Defendant agrees to

forfeit Defendant's rights and interest in any fu-earms and ammunition involved or


used in the commission of the offense.


   25. Forfeiture Provision


      Pursuant to this Plea Agreement, the defendant agrees to forfeit to the United


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States any drug proceeds or substitute assets for that amount, which constitutes or is


derived from proceeds generated or traceable to the drug trafficking offense m violation


of 21 U.S.C. §§841, 846 and 860. Further, defendant shall forfeit to the United States

any property constituting, or derived from, proceeds obtained, directly or indirectly,


as a result of said violations and any property used, or intended to be used, m any


manner or part, to commit, or to facilitate the commission of the said violations up to


the amount stated above. The defendant agrees to identify all assets over which the


defendant exercises or exercised control, directly or indirectly, within the past three


years, or in which the defendant has or had during that time any financial interest. The


defendant agrees to take all steps as requested by the United States to obtain from any


other parties by any lawful means any records of assets owned at any time by the

defendant. Defendant agrees to forfeit to the United States aU of the defendant's


interests in any asset of a value of more than $1,000 that, withm the last three years,

the defendant owned, or in which the defendant maintained an interest, the ownership


of which the defendant fails to disclose to the United States in accordance with this

agreement.


      The defendant further agrees to waive all interest in any such asset in any


administrative or judicial forfeiture proceeding, whether criminal or civil, state or ,


federal. The defendant agrees to consent to the entry of orders of forfeiturevfor such


property and waives the requirements of Federal Rules of Criminal Procedure 32.2


and 43 (a) regarding notice of the forfeiture in the charging instrument, announcement
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of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment.


Defendant acknowledges that he understands that the forfeiture of assets is part of the


sentence that may be imposed in this case and waives any failure by the court to advise


him of this, pursuant to Rule 1 l(b)(l)(J), at the time his guilty plea is accepted.

       The defendant further agrees to waive all statutory challenges in any manner


(including direct appeal, habeas corpus, or any other means) to any forfeiture carried

out in accordance with this Plea Agreement on any grounds, including that the


forfeiture constitutes an excessive fine or punishment. The defendant agrees to take all


steps as requested by the United States to pass clear title to forfeitable assets to the


United States, and to testify truthfully m any judicial forfeiture proceeding. Defendant

acknowledges that all property covered by this agreement is subject to forfeiture as


proceeds of illegal conduct, giving rise to forfeiture and/or substitute assets for


property otherwise subject to forfeiture.




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       Defendant, by agreeing to the forfeiture stated above, acknowledges that such


forfeiture in not grossly disproportional to the gravity of the offense conduct to which


defendant is pleading guilty. Defendant agrees that the forfeiture provisions of this plea

agreement are intended to, and will, survive him, notwithstanding the abatement of


any underlying criminal conviction after the execution of this agreement. The


forfeitability of any particular property pursuant to this agreement shaU be determined


as if Defendant had survived, and that determination shall be binding upon

Defendant's heirs, successors and assigns until the agreed forfeiture, including any


agreed money judgment amount, is collected in full.

W. STEPHEN MULDROW
United States Attorney



                             ^e^-                        -i\ L^-
Alberto R. Lopez Rocafort                              Howard Leader
Assistant U.S. Attorney                                Counsel for Defendant
Chief, Gang Sectiop                                    Dated: S I Cib / ^ ZT-.
Dated: ^/^<-^/^€>2^.




 ^h                                                                           ^^z:                   PZ-^
Joseph Russell                                         Luis Garcia-Lopez                              ^0
Assistant U.S. Attorney                                Defendant
Gang Section                                           Dated: ^'/V2-
Dated: ^ I \iviG ^°~i \




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                        UNDERSTANDING OF RIGHTS
      I have consulted with counsel and fully understand all of my rights as to the


charges pending against me. Further, I have consulted with my attorney and fully


understand my rights as to the provisions of the Guidelines that may apply in my case.


I have read this Plea Agreement and carefully reviewed every part of it with my


attorney. My counsel has translated the Plea Agreement to me in the Spanish


language and I have no doubts as to the contents of the agreement. I fully understand


this agreement and voluntarily agree to it. /: / ^ / j . ^' /

Date: ^ ^S^-^ ^—> ^- ^ ^ ^ ^--'<- •:^^ -
                                              Luis Garcia-Lopez f/
                                              Defendant


      I am the attorney for Defendant. I have fuUy explained Defendant's rights to


Defendant with respect to the pending charges. Further, I have reviewed the applicable


provisions of the Guidelines and I have fully explained to Defendant the provisions of

those Guidelines that may apply in this case. I have carefuUy reviewed every part of


this Plea Agreement with Defendant. I have translated the Plea Agreement and


explamed it in the Spanish language to the Defendant who has expressed having no


doubts as to the contents of the agreement. To my knowledge, Defendant is entering


into this Plea Agreement voluntarily, intelligently, and with full knowledge of all

consequences of Defendant's plea of guilty.

      Date: ^ I ^ \ ^-^
                                                    44-^
                                                   rd Leader
                                              Howard  Leader
                                              Counsel for Defendant

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                            STIPULATION OF FACTS
      In conjunction with the submission of the accompanying Plea Agreement in


this case, the Defendant, [6] LUIS GARCIA-LOPEZ, A/K/A "LOS GEMELOS"

admits that Defendant is guilty as charged in the Indictment and admits the following:

      From in or about the year 2006, and continuing up to and until the return of the


instant Indictment, in the Municipality of San Juan, District of Puerto Rico and within


the jurisdiction of this Court, [6] LUIS GARCIA-LOPEZ, A/K/A (<LOS
                                          /°         .      .          .„                 -           ,1
GEMELOS" and other^me-mliwm-ofTtfe'TrTQ, did knowingly and intentionally,w- ^•^.^


combine, conspire, and agree with each other and with diverse other persons known


and unknown, to commit an offense against the United States, that is, to knowingly


and intentionaUy possess with intent to distribute and/or to distribute controUed


substances, to wit: in excess of two hundred and eighty (280) grams of a mbcture or


substance containing a detectable amount of cocaine base (crack), a Schedule II


Narcotic Drug Controlled Substance; in excess of one (1) kilogram of a mixture or


substance containing a detectable amount of heroin, a Schedule I, Narcotic Drug

Controlled Substance; in excess of five (5) kilograms of a mixture or substance


containing a detectable amount of cocaine, a Schedule II, Narcotic Drug Controlled


Substance; in excess of one hundred (100) kilograms of a nuxture or substance


containing a detectable amount of marijuana, a Schedule I, Controlled Substance; a


mixture or substance containing a detectable amount of Oxycodone (commonly


known as Percocet), a Schedule II Controlled Substance; and a mbcture or substance

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containing a detectable amount of Alprazolam (commonly known as Xanax), a


Schedule IV Controlled Substance; within one thousand (1,000) feet of a real property

comprising the Villa Kennedy Public Housing Project, Las Casas Public Housing

Project, El Mirador Public Housing Project, Las Margaritas Public Housing Project,

housing facilities owned by a public housmg authority and within one thousand

(1,000) feet of a real property comprising a public or private school and/or playground.

All in violation of Title 21, United States Code Sections 841(a)(l), 846 and 860.

       The object of the conspiracy was to distribute controlled substances within one


thousand (1,000) feet of housing facilities owned by a public housing authority in San

Juan Puerto Rico, that is, the VUla Kennedy Public Housing Project, Las Casas Public


Housing Project, El Mirador Public Housing Project, Las IMargaritas Public Housing

Project, and in other areas in San Juan Puerto Rico within one thousand (1,000) feet


of a real property comprising a public or private school and/or playground all for


significant financial gain and profit.


       Defendant [6] LUIS GARCIA-LOPEZ, A/K/A (<LOS GEMELOS" acted as

a leader of the DTO. As a leader, he maintained control over many aspects of the


drug trafficking operations. As a leader, he would give orders regarding the

distribution of the narcotics and the enforcing of rules.




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      While multiple kilograms of heroin, cocaine, cocaine base and marijuana were


distributed during the conspiracy, for purposes of this plea agreement the defendant


acknowledges that durmg the span of the conspiracy he possessed with intent to


distribute at least 2 kilograms but no more than 3 . 5 kilograms of cocaine . Defendant


also admits that, during the course of the conspiracy, he possessed at least one firearm

in furtherance of the dmg trafficking carried out by the organization.


      At trial, the United States would have proven beyond a reasonable doubt that


defendant [6] LUIS GARCIA-LOPEZ, A/K/A "LOS GEMELOS^ is guilty as

charged in COUNT ONE and COUNT SIX of the Indictment by presenting physical

and documentary evidence, photographs, audio and video recordings, testimony of a

forensic chemist as an expert witness, cooperating witnesses, as well as the testimony

of law enforcement agents among others.


      Discovery was timely made available to Defendant for review.




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Joseph Russell Howard Leader
Assistant U.S. Attorney Counsel for Defendant
Dated: ^ ^vuy Zoz'^- Dated: ^ A /'^-^

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                                                      Luis Garcia-Lopez
                                                      Defendant
                                                      Dated: ^~/^/2-^z-


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